            Case 2:05-cv-01732-RSM Document 4 Filed 10/27/05 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9
     ALICIA NUNNERY, et al.,             )
10                                       )
                 Petitioners,            )                CASE NO.        C05-1732RSM-MJB
11                                       )
           v.                            )
12                                       )
     STATE OF WASHINGTON, et al.,        )                REPORT AND RECOMMENDATION
13                                       )
                 Respondents.            )
14   ____________________________________)
15          On October 13, 2005, petitioners Alicia Nunnery and iazQueena Nunnery submitted to this
16   Court for review a document entitled “Declaration And Motion For Habeas Corpus To Stop
17   Interference With My Visitations With My Child” together with a motion for court appointed
18   counsel. Petitioners explain in their pleading that iazQueena Nunnery is the daughter of Alicia
19   Nunnery, and that iazQueena currently resides at the Echo Glen Children’s Center. They further
20   explain that up until September 4, 2005, Alicia Nunnery had visited her daughter at Echo Glen
21   every weekend since her admittance to that facility in March 2005. Alicia Nunnery states that
22   because of fears for her own health and safety, and for the well-being of her daughter, she has
23   chosen not to return to Echo Glen. Petitioners assert that they have “been threatened by the
24   inappropriate, harassing, and retaliatory action of two employees” at Echo Glen and they appear to
25   seek a restraining order enjoining Echo Glen employees from interfering with Alicia Nunnery’s
26   visits which her daughter.

     REPORT AND RECOMMENDATION
     PAGE - 1
            Case 2:05-cv-01732-RSM Document 4 Filed 10/27/05 Page 2 of 2




 1           While petitioners do not state the precise basis for this Court’s jurisdiction over their
 2   claims, they do indicate in the caption of their pleading that they are seeking relief by way of
 3   habeas corpus. A writ of habeas corpus may issue only upon a finding that a prisoner is "in
 4   custody in violation of the Constitution or laws or treaties of the United States." 28 U.S.C. §
 5   2241(c)(3). Petitioners do not seek release from custody by way of the instant action. Thus,
 6   habeas corpus is an improper mechanism for obtaining the relief they seek. While this Court does
 7   have authority under 42 U.S.C. § 1983 to entertain a civil rights action alleging unconstitutional
 8   conduct by state employees, petitioner’s have not requested relief under § 1983 nor have they
 9   alleged sufficient facts at this juncture to implicate federal constitutional concerns.
10           For these reasons, this Court recommends that petitioners’ request for federal habeas relief
11   be denied and that this action be dismissed with prejudice. This Court further recommends that
12   petitioners’ motion for appointment of counsel be stricken as moot. A proposed order
13   accompanies this Report and Recommendation.
14           Dated this 27th day of October, 2005.
15



                                                             A
16
17
18                                                           MONICA J. BENTON
                                                             United States Magistrate Judge
19
20
21
22
23
24
25
26

     REPORT AND RECOMMENDATION
     PAGE - 2
